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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
        

       EVERLEAN COX                                     )
                                                        )
                                                        )
                        Plaintiff,                      )      1:15-cv-113 (CKK)
                                                        )
                        v.                              )
                                                        )
       DISTRICT OF COLUMBIA                             )
                                                        )
                                                        )
                        Defendant                       )
                                                        )


                                     JOINT DISCOVERY PLAN
       Plaintiff Everlean Cox and Defendant District of Columbia, through their

undersigned counsel, pursuant to the Court’s scheduling order [17], submit the following

joint discovery plan for the Court’s consideration.


       8/15/2015                       Deadline for service of interrogatories and
                                       document requests

       8/15/2015                       Deadline for any request for a confidentiality order

       10/15/15 to 12/15/15            Fact Witness Depositions

       4/1/16 to 5/15/15               Expert Depositions

Date: July 1, 2015                                    Respectfully submitted,

 /s/   Malik Z. Shabazz                            KARL A. RACINE
 Malik Z. Shabazz, (458434)                        Attorney General for the District of
 1200 G Street, N.W., Suite 800                    Columbia
 Washington, D.C. 20005
 (202) 434 4528                                    GEORGE C. VALENTINE
Attorney.shabazz@yahoo.com                         Deputy Attorney General Civil Litigation
                                                   Division
Counsel for Plaintiff
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                               /s/ Darrell Chambers
                               DARRELL CHAMBERS [980872]
                               Chief, Section II
                               Civil Litigation Division

                               /s/ Caliandra Burstein
                               CALIANDRA BURSTEIN [#1014852]
                               Assistant Attorney General
                               441 Fourth Street, N.W.
                               Sixth Floor South
                               Washington, DC 20001
                               (202) 724-6646; (202) 741-0579 (fax)
                               Caliandra.Burstein@dc.gov

                               /s/Robert A. DeBerardinis, Jr.
                               ROBERT A. DEBERARDINIS, Jr. [335976]
                               Assistant Attorney General
                               441 Fourth Street, N.W., Suite 600 South
                               Washington, D.C. 20001
                               (202) 724-6642; (202) 741-8895 (fax)
                               robert.deberardinis@dc.gov

                               Counsel for the Defendant District of
                               Columbia
